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                      UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF NEW YORK

THE NEW YORK TIMES COMPANY,

                   Plaintiff,              Civil Action No. 1:23-cv-11195 (SHS) (OTW)

                   v.

MICROSOFT CORPORATION, OPENAI,
INC., OPENAI LP, OPENAI GP, LLC,
OPENAI, LLC, OPENAI OPCO LLC,
OPENAI GLOBAL LLC, OAI
CORPORATION, LLC, and OPENAI
HOLDINGS, LLC,

                   Defendants.

DAILY NEWS, LP, et al.,                    Civil Action No. 1:24-cv-3285 (SHS) (OTW)

                   Plaintiffs,

                           v.

MICROSOFT CORPORATION, et al.,

                   Defendants.

THE CENTER FOR            INVESTIGATIVE Civil Action No. 1:24-cv-4872 (SHS) (OTW)
REPORTING, INC.,

                   Plaintiffs,

                           v.

OPENAI, INC., OPENAI GP, LLC, OPENAI,
LLC, OPENAI OPCO LLC, OPENAI
GLOBAL LLC, OAI CORPORATION, LLC,
OPENAI     HOLDINGS,      LLC,    and
MICROSOFT CORPORATION,

                   Defendants.




STIPULATION AND ORDER RE: TRAINING DATA INSPECTION PROTOCOL
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         Upon the stipulation of the parties, the following protocol will apply to the inspection,

review, and/or disclosure of Training Data produced by Defendant Microsoft Corporation

(collectively, “Microsoft”):

         1.       For the purposes of this protocol, “Training Data” shall be defined as data used to

post-train1 relevant OpenAI LLMs. Microsoft reserves the right to update the Training Data made

available for inspection should it find additional responsive data, and Plaintiffs reserve the right to

request additional Training Data that has been disclosed or discovered and is not made available

for inspection.

         2.       The “Inspecting Party” shall be defined as plaintiffs in the above captioned

consolidated actions, including their attorneys of record, agents, retained consultants, experts, and

any other persons or organization over which they have direct control.

         3.       Training Data shall be made available for inspection in electronic format at a secure

location determined by Microsoft. Training Data will be made available for inspection between

the hours of 8:30 a.m. and 5:00 p.m. on business days, although the parties will be reasonable in

accommodating reasonable requests to conduct inspections at other times. With prior notice from

the Inspecting Party, Microsoft shall make a reasonable effort to ensure that the Training Data is

programmatically accessible on a continuous, twenty-four-hour basis across multiple days as

needed in order to permit the Inspecting Party to run reasonable searches or other automated

programs to analyze the Training Data.

         4.       The Inspecting Party shall provide five days’ notice prior to any inspection.

         5.       Training Data shall be designated “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY” pursuant to the Stipulated Protective Orders, and the Inspecting Party may disclose


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 Microsoft’s position is that Microsoft has not been involved in other stages of the training process. Plaintiffs reserve
all rights to challenge that position.


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Training Data only to those authorized to view “HIGHLY CONFIDENTIAL – ATTORNEYS’

EYES ONLY” information under paragraph 15 of the Stipulated Protective Orders, without

prejudice to any party’s right to challenge this confidentiality designation (or oppose a challenge

to the confidentiality designation) at a later date. Any challenge to the confidentiality designation

of the Training Data or portions thereof under this Training Data Inspection Protocol shall be

written, shall be served on outside counsel for Microsoft, shall particularly identify the documents

or information that the Inspecting Party contends should be differently designated, and shall state

the grounds for the objection. The parties shall meet and confer in a good faith effort to resolve

the dispute. Notwithstanding any challenge to a designation, the Training Data in question shall

continue to be treated as “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” until one

of the following occurs: (1) Microsoft withdraws such designation in writing; or (2) the Court rules

that the Training Data in question is not entitled to the designation.

       6.      Nothing in this Training Data Inspection Protocol shall alter or change in any way

the requirements of the Stipulated Protective Orders. In the event of any conflict, however, this

Training Data Inspection Protocol shall control for any Training Data made available for

inspection.

       7.      Training Data shall be produced for inspection and review subject to the following

provisions:

       a.      Training Data shall be produced as maintained by Microsoft in the ordinary course

of business and made available by Microsoft in a secure room on a secured laptop without access

to other unauthorized computers or devices (the “secured computer”).

       b.      The secured computer will be equipped with tools that are sufficient for viewing

and searching the Training Data made available for inspection. Microsoft will reasonably




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cooperate with Plaintiffs to address any technical concerns Plaintiffs may have regarding the form

of production of the Training Data and the hardware and software that is provided so that Plaintiffs

may conduct the Training Data review pursuant to the applicable rules of the Federal Rules of

Civil Procedure. Plaintiffs reserve all rights to seek any additional relief from the Court, including

to enable a more efficient and/or effective review of the Training Data.

       c.      The Producing Party shall provide the receiving Party with information explaining

how to start, log on to, and operate the secured computer(s) in order to access the Training Data

on the secured computer(s). An individual will be available onsite to handle technical support

issues with the secured computer, and the Producing Party’s outside counsel will be available

electronically to make reasonable efforts to attempt to resolve issues that may arise during the

course of inspection.

       d.      The Inspecting Party’s counsel and/or experts may request that software tools

and/or files be installed on the secured computer, provided, however, that (a) the Inspecting Party

possesses an appropriate license to such software tools and/or files; (b) Microsoft approves such

software tools and/or files, such approval not to be unreasonably withheld; and (c) such other

software tools and/or files are reasonably necessary for the Inspecting Party to perform its review

of the Training Data consistent with all of the protections herein. The Inspecting Party must

provide Microsoft with the licensed software tool(s) and/or files, at the Inspecting Party’s expense,

at least seven days in advance of the date upon which the Inspecting Party wishes to have the

additional software tools and/or files available for use on the secured computer. The Producing

Party will install and confirm installation of said software on the Source Code Computers prior to

the inspection. Microsoft will reasonably cooperate with the Inspecting Party to accommodate

requests to install on the secured computer additional software tool(s) and/or files provided less




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than seven days in advance.

        e.      No recordable media or recordable devices, including without limitation

computers, cellular telephones, cameras, other recording devices, or drives of any kind, shall be

permitted into the secure inspection room, except at the end of each day of inspection, when the

Inspecting Party shall be able to copy notes from the note taking computer onto a recordable

device, under the supervision of the Producing Party.

        f.      The Inspecting Party’s counsel and/or experts may take handwritten notes on a

separate note-taking computer in scratch files but may not copy any Training Data itself into any

notes. For the avoidance of doubt, this provision shall not prevent the Inspecting Party’s counsel

and/or experts from recording in their notes statistical information (such as hits, file sizes, or match

scores) or particular items, files, or categories of items or files contained in the Training Data. The

Inspecting Party will not waive any applicable work-product protection over their electronic notes

by saving them to the secured computer temporarily. Such notes may not be in encoded or

encrypted form. Any notes related to the Training Data will be treated as “HIGHLY

CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”

        g.      The Producing Party may visually monitor the activities of the Inspecting Party’s

representatives during any inspection, but only to ensure that there is no unauthorized recording,

copying, or transmission of the Training Data. Any monitoring must be conducted from outside

the room where the inspection is taking place. The Producing Party will make an unmonitored

breakout room with Internet access reasonably convenient to and near the secured inspection room

available for use by the Inspecting Party.

        h.      No copies of all or any portion of the Training Data, or other written or electronic

record of the Training Data, may leave the secured room in which the Training Data is inspected




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except as provided herein. The Inspecting Party may obtain print outs of reasonable and limited

portions of the Training Data or electronic notes taken on the secure computer to prepare court

filings or pleadings or other papers (including a testifying expert’s expert report) by following the

procedures provided herein. For purposes of this protocol, references to “print,” “printing,” or

“print outs” are understood to refer to a Bates-stamped electronic production (as described in this

Paragraph). To make a request, the Inspecting Party shall create a directory entitled “Print Request”

and save the desired limited portions of the Training Data or notes in that directory. The beginning

of each portion of Training Data the Inspecting Party wishes to print must include the filename,

file path, and line numbers where the material was found in the training data or other information

that allows for specific identification of the material. The Inspecting Party shall alert Microsoft

when it has saved the desired limited portions of the Training Data or notes in the “Print Request”

directory that it requests to be printed. Upon receiving a request, Microsoft shall Bates number,

and label ‘HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” all requested pages.

Within seven business days from the date of request, Microsoft shall either (i) produce electronic

versions to the Inspecting Party’s counsel, or (ii) inform the Inspecting Party that Microsoft objects

that the requested portions are excessive, not for a permitted purpose, and/or not justified (see, e.g.

Fed. R. Civ. Pro. 26(b)). In the event that Microsoft objects, the parties shall meet and confer

within three business days of Microsoft’s notice of its objection. If, after meeting and conferring,

Microsoft and the Inspecting Party cannot resolve the objection, the Inspecting Party shall be

entitled to seek a Court resolution of whether the requested Training Data should be produced. To

the extent the Inspecting Party has a right to seek production, separate and apart from any

inspection, of portions of the Producing Party’s Training Data, nothing in this protocol should be

read to prejudice that right.




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       i.      All persons who will review Microsoft’s Training Data on behalf of an Inspecting

Party, including the Inspecting Party’s counsel, must qualify under paragraph 15 of the Stipulated

Protective Orders as an individual to whom “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES

ONLY” information may be disclosed, and must sign the Non-Disclosure Agreement attached as

Exhibit A to the Stipulated Protective Order. All persons who review Microsoft’s Training Data

in the secured inspection room or on the secured computer on behalf of an Inspecting Party shall

also be identified in writing to Microsoft at least five business days in advance of the first time that

such person reviews such Training Data. All authorized persons viewing Training Data in the

secured inspection room or on the secured computer shall, on each day they view Training Data,

sign a log that will include the names of persons who enter the locked room to view the Training

Data and when they enter and depart. Proper identification of all authorized persons shall be

provided prior to any access to the secure inspection room or the secured computer containing

Training Data. Proper identification requires showing, at a minimum, a photo identification card

sanctioned by the government of any State of the United States, by the government of the United

States, or by the nation state of the authorized person’s current citizenship. Access to the secure

inspection room or the secured computer may be denied, at the discretion of Microsoft, to any

individual who fails to provide proper identification.

       j.      Unless otherwise agreed in advance by the parties in writing, following each day

on which inspection is done under this protocol, the Inspecting Party’s counsel and/or experts shall

remove all notes, documents, and all other physical materials from the secure inspection room.

Microsoft shall not be responsible for any items left in the room following each inspection session,

and the Inspecting Party shall have no expectation of confidentiality for any items left in the room

following each inspection session without a prior agreement to that effect.




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        k.     Other than as provided above, the Inspecting Party will not copy, remove, or

otherwise transfer any Training Data from the secured computer including, without limitation,

copying, removing, or transferring the Training Data onto any recordable media or recordable

device. The Inspecting Party will not transmit any Training Data in any way from Microsoft’s

facilities.

        8.     Notwithstanding any provisions of this Training Data Protocol or the Stipulated

Protective Orders, the Parties reserve the right to amend this protocol either by written agreement

or Order of the Court upon showing of good cause.



IT IS SO STIPULATED, through Counsel of Record.

Dated: March 20, 2025                        /s/ Jared B. Briant
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         IT IS ORDERED that the forgoing Agreement is approved.

Dated:


                                                HON. ONA T. WANG
                                             United States Magistrate Judge




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